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SOUTHERN DISTRICT OF NEW YORK |DOC #H —
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MICHELLE CLARK, - 4
Plaintiff, 18 CIVIL 5865 (NRB)
-against- JUDGMENT
TARGET CORPORATION,
Defendant.
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It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum and Order dated May 4, 2020, defendant's motion for
summary judgment is GRANTED; accordingly, the case is closed.

Dated: New York, New York
May 5, 2020

RUBY J. KRAJICK

 

Clerk of Court

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Deputy Clerl?
